Case 1:23-cv-00853-DAE Document 5-8 Filed 07/26/23 Page 1 of 6




       ATTACHMENT 8
Declaration of Joseph L. Shelnutt
          Case 1:23-cv-00853-DAE Document 5-8 Filed 07/26/23 Page 2 of 6



                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION

__________________________________________
                                          )
UNITED STATES OF AMERICA,                 )
                                          )
                  Plaintiff,              )                 Civil Action No.
                                          )                 1:23-cv-00853-DII
            v.                            )
                                          )
GREG ABBOTT, in his capacity as GOVERNOR )
OF THE STATE OF TEXAS, and THE STATE OF )
TEXAS,                                    )
                                          )
                  Defendants.             )
__________________________________________)

                                Declaration of Joseph L. Shelnutt

 I, Joseph L. Shelnutt, declare, based on my personal observations, the following:

   1. I am a Regulatory Project Manager in the Compliance and Enforcement Branch, Regulatory

       Division, for the U.S. Army Corps of Engineers (Corps), Fort Worth District. My

       responsibilities include evaluating permit applications under Section 10 of the Rivers and

       Harbors Act of 1899 and investigating possible unauthorized activities or activities that do

       not comply with previously issued permits in my Fort Worth District’s area of

       responsibility. That area of responsibility includes Maverick County, Texas.

   2. I have a Bachelor of Science degree in Wildlife Science from Auburn University and a

       Master of Science degree in Environmental Policy and Management from American Public

       University. Currently, I am also an instructor for wetland delineation in the Great Plains

       Region.

   3. The Rio Grande is a navigable water of the United States and the Corps has listed it on the

       December 2011 publication of the “Navigable Waters of the United States in the Fort

                                                 1
      Case 1:23-cv-00853-DAE Document 5-8 Filed 07/26/23 Page 3 of 6



   Worth, Albuquerque, and Tulsa Districts Within the State of Texas.”

4. No harbor lines have been established in the Eagle Pass area of the Rio Grande.

5. On July 10, 2023, I and others from the Corps learned from media reports that Texas had

   begun to build a floating barrier in the Rio Grande near Eagle Pass. Officials from the

   International Boundary and Water Commission in Eagle Pass later were able to confirm

   those reports to the Corps.

6. I checked our records and could find no application from any entity of the State of Texas or

   a representative of the State for a floating barrier in the Rio Grande in the vicinity of Eagle

   Pass, Texas. I also did not find a record of a permit issued to Texas that would cover this

   then-proposed work.

7. The Fort Worth Regulatory Division does not have an office in Eagle Pass and it is located

   about seven hours from my office in Fort Worth, so I was not able to immediately go to

   Eagle Pass to investigate.

8. I made a site visit to Eagle Pass to investigate the placement of the floating barrier on July

   13, 2023. Neil Lebsock, from the Corps’ Fort Worth District’s Regulatory Division, went

   with me. We met with a U.S. representative and a Mexican representative from the

   International Boundary and Water Commission and they accompanied us on the site visit.

9. We observed what appeared to be a staging area for floating barrier construction at Shelby

   Park in Eagle Pass, Texas. We observed that the park had a heavy Texas DPS presence with

   controlled access. Some buoys and associated transportation equipment were present at the

   time, but most of the buoys appeared to have been moved to the installation site.

10. We located the site where the floating buoy barriers were being installed approximately 2.5

   miles downstream of the staging area. From the bank, we observed orange spheres, with a

   four-to-six-foot diameter, being installed in shallow water of the Rio Grande with the use of

                                               2
      Case 1:23-cv-00853-DAE Document 5-8 Filed 07/26/23 Page 4 of 6



   an excavator, supported by individuals standing on the riverbed, two airboats, and barge

   type watercraft. Around 450 feet of buoys had been installed. Although no cables or

   concrete blocks were observed at the time, the upstream portion of the installed buoys were

   stationary and were not held in place by equipment nor individuals and appeared to be

   anchored in place on the immediate riverbed. The approximate latitude and longitude of the

   work in the Rio Grande was 28.6709, -100.5030. We documented our observations with

   several photographs.

11. This is a photograph of the work on the floating barrier we witnessed during our site visit. I

   took the photograph:




                                              3
      Case 1:23-cv-00853-DAE Document 5-8 Filed 07/26/23 Page 5 of 6



12. This is a photograph of the excavator working on installing the buoys that we witnessed

   during our site visit. Neil Lebsock took the photograph:




13. My on-site observations confirmed that this floating barrier structure in the Rio Grande

   would need authorization from the Corps under Section 10 of the Rivers and Harbors Act of

   1899.

14. After I returned from the site visit, I re-confirmed based on the specific location I observed

   that the Corps had not received an application for the floating barrier work from Texas or

                                               4
         Case 1:23-cv-00853-DAE Document 5-8 Filed 07/26/23 Page 6 of 6



      any State representative and that we had not issued a permit to Texas for that work. Since

      Texas did not apply for a permit from the Corps under Section 10 of the Rivers and Harbors

      Act of 1899, we were unable to determine, among other things, the exact methods of

      construction and whether the floating barrier was sufficiently anchored to ensure it remained

      in place. Also, we are unable to evaluate any overall effects from the floating barrier on

      public safety, use of the Rio Grande in that area, and other public interest factors.

  15. The placement and tandem configuration of the buoys, which allows them to move

      somewhat independently even though they are connected, present a structural barrier to

      cross-river navigation and would force a vessel to maneuver around the structure to avoid

      collision or entanglement at this location.

  16. Additionally, because no information was submitted for project evaluation and potential

      permitting, it is unknown if the structure meets engineering standards to withstand predicted

      high flows. Should segments of the structure, or the entire structure, become unmoored

      from its location and travel downstream, further risks to navigation and safety could

      reasonably be assumed.

I declare under penalty of perjury that the foregoing is true and correct.

Executed on July 25, 2023, in Fort Worth, Texas.




                                             SHELNUTT.JOSEP Digitally  signed by
                                                                 SHELNUTT.JOSEPH.LEE.1110608680
                                             H.LEE.1110608680 Date: 2023.07.25 14:53:13 -05'00'
                                             _____________________________

                                             Joseph L. Shelnutt




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